Case 2:13-cr-06Q0-SAB-cr-GBOFONM/FAL = DhileachOOi294.4 FildRaQeIDL254, Page 1 of 2

AO245B — (Rev. 09/11) Judgment in Criminal Case
Sheet 2 — Imprisonment

Judgment — Page 2 of 6

DEFENDANT: KENNETH RICHARD ROWELL
CASE NUMBER: 2:13CR06070-WEN-1

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: 120 Months

‘ . . ‘ FILED IN THE
With credit for any time served. US. DISTRICT COURT

EASTERN DISTRICT OF WASHINGTON

SEP 29 2014

eran cf McAVOY. CLERI

Ww The court makes the following recommendations to the Bureau of Prisons: en has. aT DEPUTY
SPOKANE WASHINGTON

That Defendant be allowed to participate in the 500 hour RDAP program as well as be designated to the Sheridan, Oregon facility.

iy The defendant is remanded to the custody of the United States Marshal.

[-] The defendant shall surrender to the United States Marshal for this district:
[1 at O am. (©) pm. on
[] as notified by the United States Marshal.

[1 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

[) before 2 p.m. on

C1] as notified by the United States Marshal.
[1] asnotified by the Probation or Pretrial Services Office.

RETURN

Ihave executed this judgment as follows:

Defendant delivered on AG- /7- ZO [+f to C7 MeEhipuztt HE.

NERO. H (A , with a certified copy of this judgment.

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By col Andinde

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uy Case 2:13-cr-Q@0@8eSAB3-crH6F/NaVEN  filenagaphel FiReo@He25h Page 2 of 2

@AO 24S Rev. 09/11) Judgment in a Criminal Case FILED IN THE
Sheet 1 Revised by WAED - 06/13 US. DISTRICT COURT
UNITED STATES DISTRICT CouURT «MAY 21 20
* . . SEAN ‘*
Eastern District of Washington eee eee DEPUTY
SPOKANE, WASHINGTON
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
V.
KENNETH RICHARD ROWELL Case Number: 2:13CR06070-WEN-1
USM Number: 14209-085
Rick L. Hoffman
Defendant’s Attorney
THE DEFENDANT:
VU pleaded guilty to count(s) 1 of the Indictment
C1 pleaded nolo contendere to count(s)
which was accepted by the court.
C] was found guilty on count(s)
after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
21 U.S.C. §§841(a)(1) & Distribution of a Controlled Substance - Methamphetamine 04/11/13 1
(b)(1)B)(viii)
The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
(1 The defendant has been found not guilty on count(s)
[J Count(s) Ol is (© are dismissed on the motion of the United Statcs.

It is ordered that the defendant must notify the United States attorney for this district within 30 ans of any chanee of name, residence,
or ae ee until all fines, restitution, costs, and special assessments imposed by this judgment are fully pai If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

5/19/2014
Date of Imposition of Judgment

2a Veo

Signature of Judge

The Hon. Wm. Fremming Nielsen _ Senior Judge, U.S. DisiigECouiet | \/ E [")
Name and Title of Judge

= “Meg Ai Bary

SEP 29 2014

CLERK, U.S. DISTRICT COURT
SPOKANE, WASHINGTON

D.
